Case 1:23-cv-00108-LMB-JFA Document 73-2 Filed 03/27/23 Page 1 of 3 PageID# 504




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3/25/23, 4:19 PM 1:23-cv-00108-LMB-JFA               Document
                     Statement of the Department of Justice's Antitrust 73-2     Filed
                                                                        Division on       03/27/23
                                                                                    Its Decision           Page
                                                                                                 to Close Its        2 of 3of PageID#
                                                                                                              Investigation                 505
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      FOR IMMEDIATE RELEASE                                                                                                   Friday, December 2, 2011


        Statement of the Department of Justice's Antitrust Division on Its Decision to Close
                   Its Investigation of Google Inc.'s Acquisition of Admeld Inc.

      WASHINGTON – The Department of Justice’s Antitrust Division issued the following statement today after announcing
      the closing of its investigation into the proposed acquisition of Admeld Inc., an online display advertising service
      provider, by Google Inc.:



      “The Antitrust Division obtained extensive information from Google, Admeld and a wide range of market participants in
      connection with its merger investigation of the proposed transaction. After a thorough review of the evidence, the
      division concluded that the transaction is not likely to substantially lessen competition in the sale of display advertising.



      “Although the Antitrust Division concluded that this particular transaction was unlikely to cause consumer harm, the
      division will continue to be vigilant in the enforcement of the antitrust laws to protect competition in display and other
      forms of online advertising.



      “The division’s investigation focused on the potential effect of the proposed transaction on competition in the display
      advertising industry. Both Google and Admeld provide services and technology to web publishers that facilitate the sale
      of those publishers’ display advertising space. Google is a diversified software company whose offerings for publishers
      include an advertising exchange, an advertising network and an ad server. Admeld operates a supply-side platform
      (SSP) that helps publishers optimize the yield from their display advertising inventory.



      “The investigation determined that web publishers often rely on multiple display advertising platforms and can move
      business among them in response to changes in price or the quality of ad placements. This use of multiple display
      advertising platforms, commonly called “multi-homing,” lessens the risk that the market will tip to a single dominant
      platform. In addition, there have been recent SSP and advertising exchange entrants in the display advertising
      industry. These were significant considerations in the division’s decision to close the investigation.



      “Given Google’s significant presence in search, as previously noted during our 2010 investigation involving
      Microsoft/Yahoo! and 2008 investigation involving Google/Yahoo!, the Antitrust Division also carefully evaluated
      whether Google’s acquisition of Admeld would enable Google to extend its market power in the Internet search industry
      to online display advertising through anticompetitive means. The division will continue to rigorously enforce the antitrust


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3/25/23, 4:19 PM 1:23-cv-00108-LMB-JFA               Document
                     Statement of the Department of Justice's Antitrust 73-2     Filed
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                                                                                    Its Decision           Page
                                                                                                 to Close Its        3 of 3of PageID#
                                                                                                              Investigation                 506
                                                                                                                              Google Inc.'s Acquisition of …

      laws to ensure that transactions affecting evolving markets such as display and other forms of online advertising, as
      well as search, do not inhibit competition or innovation in any way.



      “Google Inc., based in Mountain View, Calif., operates the largest Internet search engine in the world and one of the
      largest display advertising platforms. Google derives revenue primarily from advertising, both as a publisher itself and
      as an intermediary between advertisers and other publishers. Aside from advertising-related products, Google’s
      software offerings include a smartphone operating system, web-based email and mapping programs. In 2010, Google
      had revenues of approximately $29 billion.



      “Admeld Inc., established in 2007 and based in New York City, operates one of the largest SSPs in the display
      advertising industry. Admeld offers a combination of services that include usage of its own advertising exchange,
      facilitating interaction with advertising networks and general advisory services. In 2010, Admeld raised approximately
      $30 million.”



      The division provides this statement under its policy of issuing statements concerning the closing of investigations in
      appropriate cases. This statement is limited by the division’s obligation to protect the confidentiality of certain
      information obtained in its investigations. As in most of its investigations, the division’s evaluation has been highly fact-
      specific, and many of the relevant underlying facts are not public. Consequently, readers should not draw overly broad
      conclusions regarding how the division is likely in the future to analyze other collaborations or activities, or transactions
      involving particular firms. Enforcement decisions are made on a case-by-case basis, and the analysis and conclusions
      discussed in this statement do not bind the division in any future enforcement actions. Guidance on the division’s policy
      regarding closing statements is available at www.justice.gov/atr/public/closing/index.html.

      Component(s):
      Antitrust Division

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